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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         18-10019GVL1 KKS                                                    Trustee: (290820)           Theresa M. Bender, Trustee
Case Name:           PRIORIA ROBOTICS HOLDINGS, INC.                                     Filed (f) or Converted (c): 02/14/18 (c)
                                                                                         §341(a) Meeting Date:       04/04/18
Period Ending:       12/31/21                                                            Claims Bar Date:            06/01/18

                                1                                      2                        3                          4                  5                    6

                       Asset Description                            Petition/           Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                     Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                    and Other Costs)                                                Remaining Assets

 1       Business Checking Account at Wells Fargo Bank, N                   0.00                        0.00                                       0.00                   FA
           ACCT #2700
         Imported from original petition Doc# 47

 2       Business Checking Account at Bank of America, xx                   0.00                        0.00                                       0.00                   FA
           ACCT # 7113
         Imported from original petition Doc# 47

 3       Prioria Robotics, Inc., 100% ownership                             0.00                        0.00                                       0.00                   FA
           Imported from original petition Doc# 47

 3       Assets          Totals (Excluding unknown values)                 $0.00                       $0.00                                      $0.00                 $0.00


     Major Activities Affecting Case Closing:
              READY TO CLOSE AFTER TFR ON PRIORIA ROBOTICS, INC

              10/15/21-FINAL TAX RETURNS FILED

              4/5/21-AMEND IR
              CASE REMAINS OPEN AS IT IS THE HOLDING COMPANY FOR PRIORIA ROBOTICS, INC WHICH IS BEING ADMINSITERED. A TAX RETURN MAY BE
              REQUIRED UPON COMPLETION.




                                                                                                                                         Printed: 01/20/2022 01:35 PM   V.20.40
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                                                     Individual Estate Property Record and Report
                                                                      Asset Cases
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                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                Remaining Assets

    Initial Projected Date Of Final Report (TFR): December 31, 2019                 Current Projected Date Of Final Report (TFR): December 31, 2022




                                                                                                                                        Printed: 01/20/2022 01:35 PM   V.20.40
